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                                                                                    2023 Jul-28 PM 10:59
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA
Democrat       2018    2018      2018   2018    2018     2020    2020
  CD            AG      GOV     LTGOV    AUD     SOS     PRES     SEN    Average
   1           39.2%   38.5%    36.7%   37.6%   36.9%    34.8%   38.2%    37.4%
   2           48.5%   45.3%    46.0%   46.8%   46.0%    45.6%   48.0%    46.6%
   3           33.3%   32.6%    31.2%   31.8%   31.5%    29.3%   31.9%    31.6%
   4           24.8%   24.8%    21.7%   22.6%   21.7%    18.6%   21.9%    22.3%
   5           39.2%   38.6%    36.8%   38.0%   37.4%    36.2%   39.5%    37.9%
   6           35.6%   36.2%    32.8%   33.7%   33.2%    33.4%   35.9%    34.4%
   7           64.7%   64.0%    62.9%   63.2%   62.9%    61.6%   63.4%    63.2%




Republican     2018    2018      2018   2018    2018     2020    2020
   CD           AG      GOV     LTGOV    AUD     SOS     PRES     SEN    Average
    1          60.8%   61.5%    63.3%   62.4%   63.1%    65.2%   61.8%    62.6%
    2          51.5%   54.7%    54.0%   53.2%   54.0%    54.4%   52.0%    53.4%
    3          66.7%   67.4%    68.8%   68.2%   68.5%    70.7%   68.1%    68.4%
    4          75.2%   75.2%    78.3%   77.4%   78.3%    81.4%   78.1%    77.7%
    5          60.8%   61.4%    63.2%   62.0%   62.6%    63.8%   60.5%    62.1%
    6          64.4%   63.8%    67.2%   66.3%   66.8%    66.6%   64.1%    65.6%
    7          35.3%   36.0%    37.1%   36.8%   37.1%    38.4%   36.6%    36.8%
